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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

    In re:                                               §
                                                         §
    Watson Valve Services, Inc.                          §                 Case No. 20-30968
                                                         §
             Debtor.                                     §                     Chapter 11


 FIRST MONTHLY FEE STATEMENT OF MCDOWELL HETHERINGTON,
  LLP, AS COUNSEL FOR DEBTOR AND DEBTORS IN POSSESSION, FOR
ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES
   FOR THE PERIOD FROM FEBRUARY 6, 2020 TO FEBRUARY 29, 2020




    Name of Applicant:                                                     McDowell Hetherington, LLP

    Date of Retention:                                                                     February 6, 2020

    Period for which Fees and Expenses are Incurred:                     February 6 – February 29, 2020

    Interim Fees Incurred:                                                                      $ 79,297.25

    Interment Payment of Fees Requested (80%):                                                  $ 63,437.80

    Interim Expenses Incurred:                                                                  $     1,209.52

    Total Fees and Expenses Due:1                                                               $ 64,647.32


This is the First Monthly Fee Statement.




1
  Pursuant to this Court’s Order pursuant to 11 U.S.C. §§ 105(a) and 331 Establishing Procedures for Interim
Compensation and Reimbursement of Expenses of Professionals [Docket No. 120], if no objection to the fees or
expenses sought in the Monthly Statement is received by the expiration of the objection deadline, the Debtor is
authorized to promptly pay 80% of the fees and 100% of the expenses identified in the Monthly Statement. Parties
have fourteen days to object.


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       McDowell Hetherington, LLP (“MH”), as Counsel for Debtor and Debtor in

Possession of Watson Valve Services, Inc. (“Debtor”) submits this First Monthly Fee

Statement (“Fee Statement”) for the period from February 6, 2020 through February 29,

2020 (“Application Period”) in accordance with the Order Pursuant to 11 U.S.C. §§

105(a) and 331 Establishing Procedures for Interim Compensation and Reimbursement of

Expenses of Professionals [Dkt. No. 120] (“Interim Compensation Order”).

       MH requests compensation for professional services rendered in the amount of

$79,297.25 (“Fees”), and for reimbursement of out-of-pocket expenses incurred in the

amount of $1,209.52 (“Expenses”), for the period from February 7, 2020 through February

29, 2020. Eighty percent (80%) of the fees equals $63,437.80 and one hundred percent

(100%) of the Expenses equals $1,209.52 for a total requested amount of $64,647.32. A

summary of the time expended by MH attorneys and paralegals, together with their

respective hourly rates is attached as Exhibit A. A summary of the fees by project category

are attached as Exhibit B. A summary of expenses is attached as Exhibit C. The invoice

for fees and expenses incurred during the Application Period is attached as Exhibit D. MH

is currently holding $66,566 in retainer.

                                            NOTICE

       Pursuant to the Order Establish Interim Professional Compensation Procedures [Bk.

Dkt. No. 120], notice of this Fee Statement will be provided to (i) the Office of the United

States Trustee for the Southern District of Texas; (ii) Husch Blackwell as counsel for Texas

Capital Bank, the secured lender; and (iii) counsel for the January 24 Claimants Committee




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in the Watson Grinding & Manufacturing Co. bankruptcy case, Case No. 20-30967,

pending before this Court.

                                           PRAYER

       WHEREFORE, MH respectfully requests payment and reimbursement in

accordance with the procedures set forth in the Interim Compensation Order (i.e., payment

of compensation for professional services rendered) as follows:

                       Fees (80%)                         $   63,437.80
                       Expenses (100%)                    $    1,209.52
                       Total Interim Request              $   64,647.32

The Debtor respectfully requests that this Court grant the relief requested to use cash

collateral on an interim basis and for such other and further relief to which the it is entitled.

       Dated: April 7, 2020                 Respectfully submitted,

                                            MCDOWELL HETHERINGTON LLP

                                            By: /s/ Jarrod B. Martin
                                            Jarrod B. Martin
                                            Texas Bar No. 24070221
                                            Kate H. Easterling
                                            Texas Bar No. 24053257
                                            Avi Moshenberg
                                            Texas Bar No. 24083532
                                            1001 Fannin Street
                                            Suite 2700
                                            Houston, TX 77002
                                            P: 713-337-5580
                                            F: 713-337-8850
                                            E: Jarrod.Martin@mhllp.com
                                            E: Kate.Easterling@mhllp.com
                                            E: Avi.Moshenberg@mhllp.com

                                            Counsel for Watson Valve Services, Inc.




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                            CERTIFICATE OF SERVICE

       The undersigned certifies that on April 7, 2020 a true and correct copy of the

foregoing Fee Statement was served electronically on all parties registered to receive

electronic notice of filings in this case via this Court’s ECF notification system, and via

email on the following parties:

       Counsel for the US Trustee
       Stephen Statham                                  Stephen.Statham@usdoj.gov

       Counsel for the Secured Lender
       Tim Million                                      tim.million@huschblackwell.com

       Counsel for the January 24 Claimants Committee
       Josh Wolfshohl                           JWolfshohl@porterhedges.com


                                                 /s/ Jarrod B. Martin
                                                 Jarrod B. Martin




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     Exhibit A
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                           EXHIBIT A
                            TIMEKEEPER SUMMARY
            Timekeeper             Rate/Hour   Hours               Total
Jarrod B. Martin (JBM)            $    425.00     85.30       $   36,252.50
Kate H. Easterling (KHE)          $    415.00     38.70       $   16,060.50
Avi Mosehenberg (AVM)             $    385.00     15.80       $    6,083.00
Nick R. Lawson (NRL)              $    385.00       2.90      $    1,116.50
Jennifer H. Frank (JHF)           $    375.00       0.50      $      187.50
Nicole E. Su (NES)                $    300.00       2.80      $      840.00
Jarrod B. Martin (JBM)            $    212.50       6.90      $    1,466.25
Lara A. Coleman (LAC)             $    195.00     86.10       $   16,789.50
Katherine E. Taylor (KET)         $    195.00       1.70      $      331.50
                          TOTAL:                 240.70       $   79,127.25
    AVERAGE HOURLY RATE:          $    328.74
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     Exhibit B
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                            EXHIBIT B
                          CASE ADMINISTRATION
           Timekeeper            Rate/Hour    Hours                 Total
Jarrod B. Martin (JBM)          $    425.00      36.40         $   15,470.00
Kate H. Easterling (KHE)        $    415.00      18.10         $    7,511.50
Avi Mosehenberg (AVM)           $    385.00      12.10         $    4,658.50
Jarrod B. Martin (JBM)          $    212.50        4.00        $      850.00
Lara A. Coleman (LAC)           $    195.00      41.70         $    8,131.50
Katherine E. Taylor (KET)       $    195.00        0.80        $      156.00
TOTALS:                                         113.10         $   36,777.50
AVERAGE HOURLY RATE:            $    325.18


                        ASSET ANALYSIS AND RECOVERY
            Timekeeper             Rate/Hour     Hours             Total
Jarrod B. Martin (JBM)            $    425.00         1.70     $     722.50
Jennifer H. Frank (JHF)           $    375.00         0.50     $     187.50
TOTALS:                                               2.20     $     910.00
AVERAGE HOURLY RATE:              $    413.64



                 RELIEF FROM STAY / ADEQUATE PROTECTION
           Timekeeper             Rate/Hour     Hours              Total
Jarrod B. Martin (JBM)           $    425.00         0.10      $      42.50
Lara A. Coleman (LAC)            $    195.00         0.20      $      39.00
TOTALS:                                              0.30      $      81.50
AVERAGE HOURLY RATE:             $    271.67


            MEETINGS AND COMMUNICATIONS WITH CREDITORS
           Timekeeper         Rate/Hour    Hours                   Total
Jarrod B. Martin (JBM)       $    425.00        2.00 $               850.00
Kate H. Easterling (KHE)     $    415.00        0.60 $               249.00
Avi Mosehenberg (AVM)        $    385.00        2.80 $             1,078.00
TOTALS:                                         5.40 $             2,177.00
AVERAGE HOURLY RATE:         $    403.15
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                     EMPLOYMENT AND FEE APPLICATIONS
           Timekeeper            Rate/Hour     Hours               Total
Jarrod B. Martin (JBM)          $    425.00         4.00       $   1,700.00
TOTALS:                                             4.00       $   1,700.00
AVERAGE HOURLY RATE:            $    425.00



                       COMPROMISE AND SETTLEMENT
           Timekeeper            Rate/Hour    Hours                Total
Jarrod B. Martin (JBM)          $    425.00        2.00        $     850.00
Lara A. Coleman (LAC)           $    195.00        1.50        $     292.50
TOTALS:                                            3.50        $   1,142.50
AVERAGE HOURLY RATE:            $    326.43



                               LITIGATION
           Timekeeper             Rate/Hour       Hours             Total
Jarrod B. Martin (JBM)           $    425.00           2.40    $    1,020.00
Kate H. Easterling (KHE)         $    415.00         20.00     $    8,300.00
Avi Mosehenberg (AVM)            $    385.00           0.90    $      346.50
Lara A. Coleman (LAC)            $    195.00         14.50     $    2,827.50
TOTALS:                                              37.80     $   12,494.00
AVERAGE HOURLY RATE:             $   330.53



                       BUSINESS OPERATIONS
           Timekeeper         Rate/Hour    Hours                   Total
Jarrod B. Martin (JBM)       $    425.00      10.10            $   4,292.50
Nick R. Lawson (NRL)         $    385.00        2.90           $   1,116.50
Lara A. Coleman (LAC)        $    195.00      10.80            $   2,106.00
TOTALS:                                       23.80            $   7,515.00
AVERAGE HOURLY RATE:         $    315.76
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                      FINANCING AND CASH COLLATERAL
           Timekeeper              Rate/Hour   Hours               Total
Jarrod B. Martin (JBM)            $    425.00     17.20       $    7,310.00
Jarrod B. Martin (JBM)            $    213.00       2.90      $      617.70
Lara A. Coleman (LAC)             $    195.00     13.30       $    2,593.50
Katherine E. Taylor (KET)         $    195.00       0.90      $      175.50
TOTALS:                                           34.30       $   10,696.70
AVERAGE HOURLY RATE:              $    311.86



                   CLAIMS ADMINISTRATION AND OBJECTIONS
           Timekeeper              Rate/Hour    Hours             Total
Jarrod B. Martin (JBM)            $    425.00        0.10     $      42.50
Lara A. Coleman (LAC)             $    195.00        4.10     $     799.50
TOTALS:                                              4.20     $     842.00
AVERAGE HOURLY RATE:              $    200.48



                      PLAN AND DISCLOSURE STATEMENT
           Timekeeper              Rate/Hour    Hours             Total
Jarrod B. Martin (JBM)            $    425.00        9.30     $   3,952.50
Nicole E. Su (NES)                $    300.00        2.80     $     840.00
TOTALS:                                            12.10      $   4,792.50
AVERAGE HOURLY RATE:              $    396.07
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     Exhibit C
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                          EXHIBIT C
                             EXPENSE SUMMARY
Copying                           $   593.90
Delivery services/messengers      $    47.85
Postage                           $   100.80
Local travel                      $   211.97
Trial transcripts                 $    72.00
Other professionals               $    11.00
Color Photocopies                 $   172.00
                  TOTAL EXPENSES: $ 1,209.52
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     Exhibit D
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                                           McDowell Hetherington LLP
                                                      1001 Fannin Street
                                                         Suite 2700
                                                     Houston, TX 77002
                                            (713) 337-5580 Tax I.D. XX-XXXXXXX

                                                     February 29, 2020


                                                                                 Invoice No.      81810
Watson Valve                                                                     Our File No.     7059-000001
Watson Valve                                                                     Billing Through: 2/29/20

Ch.11 Bankruptcy


FOR PROFESSIONAL SERVICES RENDERED

2/7/20    AVM      Case Administration: Review and analyze draft         2.20 hrs        385 / hr           847.00
                   declaration of Robert White (.6); communicate
                   with attorneys representing plaintiffs in various
                   actions against client about the bankruptcy
                   petition and upcoming steps (1.6).
2/10/20   AVM      Case Administration: Review and analyze               1.10 hrs        385 / hr           423.50
                   filings relating to upcoming hearing before
                   Judge Isgur (.4); communicate with cocounsel
                   about the hearing and develop strategy going
                   forward (.3); communicate with attorneys for
                   interested parties about the bankruptcy
                   proceedings (.4).
2/11/20   AVM      Case Administration: communicate with                 2.50 hrs        385 / hr           962.50
                   reporter for the Wall Street Journal about the
                   hearing (.2); communicate with cocounsel about
                   the discussion and develop strategy (.2); review
                   and revise press statement (.3); review and
                   analyze notice of appearance (.1); communicate
                   with attorneys about developments in
                   bankruptcy proceedings (.9); review and analyze
                   various Court filings from the day (.4); review
                   and analyze ethics opinion received regarding
                   alleged potential conflict of interest (.4).
2/12/20   AVM      Case Administration: Review and analyze               1.30 hrs        385 / hr           500.50
                   various Court filings from the day (.2); review
                   and analyze letters from litigation-defense
                   counsel and the TCEQ about needing to
                   removing propylene within five days (.4);
                   review and analyze communications from
                   plaintiffs' attorneys about the TCEQ letter (.7).
2/13/20   AVM      Case Administration: review and analyze Court         2.20 hrs        385 / hr           847.00
                   filings from the day (.4); prepare for and
                   participate in call with the TCEQ about
                   removing proplylene to understand its position
                   in case emergency motions for injunctive relief
                   are filed (1.6); review and analyze
                   communications from the attorney's for
                   Western/Mattheson about removing the
                   propylene (.2).
2/14/20   AVM      Case Administration: review and analyze Court         0.60 hrs        385 / hr           231.00
                   filings and communications with counsel for
                   defense and plaintiffs regarding the TCEQ issue
                   (.6).
2/17/20   AVM      Case Administration: Review and analyze               2.20 hrs        385 / hr           847.00
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Watson
2/17/20 Valve
           AVMServices                       7059     - 000001               2.20 Invoice No. 385
                                                                                                81810      Page
                                                                                                         847.00    2
                         communications from Western/Mattheson's
                         attorney refusing to remove propylene (.3);
                         communicate with cocounsel about this issue
                         and the obligations under the indemnitor
                         agreement (.7); review and analyze filings to
                         Court from weekend and the day (.5);
                         communicate with attorneys for interested
                         parties about bankruptcy proceedings (.7).
2/6/20     JBM           Case Administration: Travel from Debtor's           0.30 hrs        213 / hr     63.75
                         command center after bankruptcy filing
                         meeting.
2/6/20     JBM           Case Administration: Phone call with potential      0.20 hrs        425 / hr     85.00
                         counsel for committee.
2/6/20     JBM           Case Administration: Meeting with client            4.00 hrs        425 / hr   1,700.00
                         regarding final preparation of bankruptcy
2/6/20     JBM           Case Administration: Draft and revise notice of     0.60 hrs        425 / hr    255.00
                         designation of complex case.
2/6/20     JBM           Case Administration: Draft and revise motion        1.20 hrs        425 / hr    510.00
                         for joint administration.
2/6/20     JBM           Case Administration: Phone calls with E. Jones      0.50 hrs        425 / hr    212.50
                         and B. White regarding Russia contract.
2/6/20     JBM           Case Administration: Phone call with                0.30 hrs        425 / hr    127.50
                         representative of plaintiff group regarding
                         agreed order.
2/7/20     JBM           Case Administration: Attention to                   0.10 hrs        425 / hr     42.50
                         correspondence relating to Texas Attorney
                         General.
2/7/20     JBM           Case Administration: Review and revise              0.20 hrs        425 / hr     85.00
                         complex case designation.
2/7/20     JBM           Case Administration: Phone call with J. Melko       0.20 hrs        425 / hr     85.00
                         regarding interested purchaser.
2/7/20     JBM           Case Administration: Revise cash management         0.20 hrs        425 / hr     85.00
                         order.
2/7/20     JBM           Case Administration: Participate in litigation      0.50 hrs        425 / hr    212.50
                         team conference call and explain bankruptcy
                         process.
2/7/20     JBM           Case Administration: Working session regarding      3.00 hrs        425 / hr   1,275.00
                         revisions to declaration and preparation for
                         first-day hearing.
2/7/20     JBM           Case Administration: Correspondence with            0.20 hrs        425 / hr     85.00
                         plaintiff's attorney regarding stay violation and
                         nonsuit of litigation.
2/7/20     JBM           Case Administration: Revise motion for joint        0.30 hrs        425 / hr    127.50
                         administration.
2/8/20     JBM           Case Administration: Phone call with J. White       0.10 hrs        425 / hr     42.50
                         regarding China project.
2/8/20     JBM           Case Administration: Finalize motion for joint      0.50 hrs        425 / hr    212.50
                         administration and cash management.
2/8/20     JBM           Case Administration: Revisions to declaration to    0.30 hrs        425 / hr    127.50
                         address insurance information.
2/8/20     JBM           Case Administration: Phone call with co-counsel     0.50 hrs        425 / hr    212.50
                         regarding declaration and litigation strategy.
2/8/20     JBM           Case Administration: Phone call with R. White       0.10 hrs        425 / hr     42.50
                         regarding declaration revisions.
2/9/20     JBM           Case Administration: Draft and revise agenda.       0.20 hrs        425 / hr     85.00
2/9/20     JBM           Case Administration: Draft and revise status        0.30 hrs        425 / hr    127.50
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Watson
2/9/20 Valve
          JBMServices                      7059     - 000001               0.30 Invoice No. 425
                                                                                              81810     Page
                                                                                                      127.50   3
                        report.
2/9/20     JBM          Case Administration: Preparation for first day     2.30 hrs        425 / hr   977.50
                        hearing.
2/9/20     JBM          Case Administration: Draft opening statement       0.20 hrs        425 / hr    85.00
                        for first day hearing.
2/9/20     JBM          Case Administration: Draft and revise witness      0.20 hrs        425 / hr    85.00
                        and exhibit list.
2/10/20    JBM          Case Administration: Attend first-day hearings.    2.00 hrs        425 / hr   850.00
2/10/20    JBM          Case Administration: Working session regarding     1.50 hrs        425 / hr   637.50
                        preparation for first-day hearing.
2/10/20    JBM          Case Administration: Working session with E.       2.00 hrs        425 / hr   850.00
                        Jones regarding representation of entities and
                        cash collateral after hearing.
2/11/20    JBM          Case Administration: Phone call with J. White      0.30 hrs        425 / hr   127.50
                        regarding customers reactions to bankruptcy and
                        need for DIP loan.
2/11/20    JBM          Case Administration: Review and respond to         0.20 hrs        425 / hr    85.00
                        emails with US Trustee regarding noticing of
                        committee.
2/11/20    JBM          Case Administration: Meeting with E. Jones         0.50 hrs        425 / hr   212.50
                        regarding retention of entities, oversecured
                        status of bank, and formation of committee.
2/11/20    JBM          Case Administration: Correspondence with           0.20 hrs        425 / hr    85.00
                        defense counsel regarding first-day hearing.
2/12/20    JBM          Case Administration: Travel to Westin for case     0.50 hrs        213 / hr   106.25
                        strategy meeting.
2/12/20    JBM          Case Administration: Meeting with C. Johnson       1.20 hrs        425 / hr   510.00
                        regarding committee pitch.
2/12/20    JBM          Case Administration: Phone call with E. Geiger     0.30 hrs        425 / hr   127.50
                        regarding insurance policies.
2/13/20    JBM          Case Administration: Draft agenda for hearing.     0.20 hrs        425 / hr    85.00
2/13/20    JBM          Case Administration: Telephone conference          0.50 hrs        425 / hr   212.50
                        with TCEQ regarding removal of tank.
2/13/20    JBM          Case Administration: Phone call with H. Flores     0.20 hrs        425 / hr    85.00
                        regarding motions to be heard at February 14
                        hearing (.1); conference regarding same (.1) .
2/13/20    JBM          Case Administration: Numerous phone calls          0.50 hrs        425 / hr   212.50
                        with T. Million regarding cash collateral.
2/13/20    JBM          Case Administration: Phone call with J. McCoy      0.40 hrs        425 / hr   170.00
                        regarding TCEQ issues.
2/14/20    JBM          Case Administration: Draft motion to withdraw      0.50 hrs        425 / hr   212.50
                        appearance.
2/14/20    JBM          Case Administration: Phone call with co-counsel    0.70 hrs        425 / hr   297.50
                        regarding February 14 hearing.
2/14/20    JBM          Case Administration: Draft witness and exhibit     0.10 hrs        425 / hr    42.50
                        list.
2/16/20    JBM          Case Administration: Draft insurance motion.       1.90 hrs        425 / hr   807.50
2/17/20    JBM          Case Administration: Travel to Debtor's base of    0.50 hrs        213 / hr   106.25
                        operations for meeting regarding retention of
                        professionals and reorganization plan.
2/17/20    JBM          Case Administration: Travel from Debtor's base     0.50 hrs        213 / hr   106.25
                        of operations for meeting regarding retention of
                        professionals and reorganization plan.
2/17/20    JBM          Case Administration: Phone call with co-counsel    0.30 hrs        425 / hr   127.50
                        regarding TCEQ gas removal.
2/18/20    JBM          Case Administration: Travel to Courthouse from     0.50 hrs        213 / hr   106.25
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Watson
2/18/20 Valve
           JBMServices                       7059     - 000001                0.50 Invoice No. 213
                                                                                                 81810      Page
                                                                                                          106.25    4
                         hearing on preliminary injunction.
2/18/20    JBM           Case Administration: Travel to Courthouse for        0.50 hrs        213 / hr    106.25
                         hearing on preliminary injunction.
2/18/20    JBM           Case Administration: Await docket call on            0.30 hrs        425 / hr    127.50
                         injunction motion.
2/18/20    JBM           Case Administration: Review preliminary              0.20 hrs        425 / hr     85.00
                         injunction motion.
2/18/20    JBM           Case Administration: Phone call with co-counsel      0.40 hrs        425 / hr    170.00
                         regarding TCEQ removal.
2/18/20    JBM           Case Administration: Draft agenda for February       0.10 hrs        425 / hr     42.50
                         19 hearing.
2/18/20    JBM           Case Administration: Meeting with interested         0.80 hrs        425 / hr    340.00
                         parties regarding TCEQ gas removal.
2/18/20    JBM           Case Administration: Attend hearing on TCEQ          0.50 hrs        425 / hr    212.50
                         injunction.
2/19/20    JBM           Case Administration: Meeting with debtor team        0.50 hrs        425 / hr    212.50
                         regarding TCEQ removal issues.
2/19/20    JBM           Case Administration: Review and respond to           0.20 hrs        425 / hr     85.00
                         emails from litigation counsel for Grinding and
                         counsel for Matheson regarding removal of gas.
2/20/20    JBM           Case Administration: Travel from Westin to           0.50 hrs        213 / hr    106.25
                         office after working session.
2/21/20    JBM           Case Administration: Phone call with counsel         0.30 hrs        425 / hr    127.50
                         for Watson Grinding regarding cash collateral.
2/24/20    JBM           Case Administration: Phone calls with                0.50 hrs        425 / hr    212.50
                         co-counsel and client regarding retention of
                         financial advisor.
2/25/20    JBM           Case Administration: Phone call with co-counsel      0.70 hrs        425 / hr    297.50
                         regarding cash collateral and other case issues.
2/26/20    JBM           Case Administration: Travel to Westin                0.70 hrs        213 / hr    148.75
                         Memorial for meeting with management team
                         and financial advisor regarding Watson Valve
                         business operations.
2/26/20    JBM           Case Administration: Phone call with counsel         0.60 hrs        425 / hr    255.00
                         for Watson Grinding regarding case strategy.
2/26/20    JBM           Case Administration: Correspondence with IT          0.40 hrs        425 / hr    170.00
                         professional regarding access to Debtor records.
2/26/20    JBM           Case Administration: Prepare for phone call          0.90 hrs        425 / hr    382.50
                         with counsel for Grinding committee regarding
                         case status (.5); phone call regarding case status
                         (.4).
2/27/20    JBM           Case Administration: Phone call with Watson          0.30 hrs        425 / hr    127.50
                         Grinding regarding TCEQ and site status.
2/10/20    KET           Case Administration: Prepare for hearing on          0.80 hrs        195 / hr    156.00
                         first day motions.
2/10/20    KHE           Case Administration: Prepared for and attended       7.00 hrs        415 / hr   2,905.00
                         hearing (2.6); developed strategy regarding next
                         steps (1.4); analyzed issues raised by the court
                         and developed strategy for moving forward
                         (2.7); attention to communications with
                         opposing counsel and updates to service list (.3).
2/13/20    KHE           Case Administration: Analyzed communications         1.70 hrs        415 / hr    705.50
                         regarding TCEQ demand, draining the
                         propylene from tank, removing other tanks, and
                         upcoming site visits; attention to updates to the
                         service list and communications regarding
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Watson Valve Services                       7059     - 000001                    Invoice No.     81810       Page    5
                        adding counsel for certain claimants to the
                        service list; analyzed issues for upcoming
                        hearing.
2/14/20    KHE          Case Administration: Analyzed various motions        2.70 hrs          415 / hr   1,120.50
                        and notices in advance of hearing (.8) ; analyzed
                        communications regarding inspection and
                        testing of propylene tank and gas (.7); analyzed
                        requests from counsel regarding service lists and
                        attention to ensuring service lists are updated
                        accordingly (.6); analyzed, edited, and revised
                        motion to withdraw as counsel for Watson
                        Grinding (.4); developed strategy for next steps
                        (.2).
2/15/20    KHE          Case Administration: Analyzed communications         0.30 hrs          415 / hr    124.50
                        with counsel regarding Texas Center for
                        Environmental Quality and site inspection.
2/16/20    KHE          Case Administration: Analyzed communications         0.30 hrs          415 / hr    124.50
                        with counsel regarding removal of tanks,
                        sampling and draining tank contents.
2/17/20    KHE          Case Administration: Analyzed communications         2.20 hrs          415 / hr    913.00
                        regarding status of site inspection and TCEQ
                        demand to remove propylene gas from tanks
                        (1.3); analysis regarding grounds for emergency
                        motion to compel Western Gas to remove gas
                        from tank (.9).
2/18/20    KHE          Case Administration: Communications with             2.70 hrs          415 / hr   1,120.50
                        claimant's counsel regarding status of site visit
                        and TCEQ demand (.5); analyzed
                        communications regarding TCEQ requirements
                        and scheduled site visit (.6); analyzed TCEQ's
                        motion for preliminary injunction (.4); analyzed
                        communications with the court regarding setting
                        hearing for emergency motion for injunction
                        (.2); attended hearing ,by telephone, on TCEQ's
                        emergency motion and attention to effect of
                        same (.7); analyzed notifications and documents
                        filed in the bankruptcy proceeding (.3).
2/19/20    KHE          Case Administration: Analyzed communications         0.30 hrs          415 / hr    124.50
                        regarding testing and site inspections.
2/20/20    KHE          Case Administration: Analyzed communications         0.60 hrs          415 / hr    249.00
                        regarding sample collection.
2/24/20    KHE          Case Administration: Analyzed communications         0.30 hrs          415 / hr    124.50
                        regarding samples, testing, and objections to
                        same.
2/6/20     LAC          Case Administration: Prepare master creditor list    1.10 hrs          195 / hr    214.50
                        (.5); draft notice of appearance for K. Easterling
                        (.3); revise notice of designation as complex
                        case (.1); draft proposed order for same (.2)
2/7/20     LAC          Case Administration: Work on motion for joint        3.40 hrs          195 / hr    663.00
                        administration (.5); finalize proposed order for
                        same (.2); conference with J. Martin regarding
                        same (.1); revise motion to extend schedules and
                        statement of financial affairs (.6); revise
                        proposed order regarding same (.1); email to S.
                        Stathan regarding notice of complex case
                        designation (.1); conference regarding first day
                        motions (.5); finalize motion regarding
                        extension of scheduling deadlines (.3); finalize
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                        proposed order regarding same (.1); finalize
                        motion for joint administration (.3); finalize
                        proposed order regarding same (.1); update
                        service list (.5).
2/8/20     LAC          Case Administration: Work on declaration for R.       7.60 hrs          195 / hr   1,482.00
                        White (.8); exchange numerous emails with
                        working group regarding same (.3); work on
                        master service list and outline deadlines set forth
                        in complex case designation rules related to
                        same (.6); work on cash management motion
                        (1.1); work on proposed order related to same
                        (.6); work on motion for joint administration
                        (.9); work on proposed order for joint
                        administration motion (.2); finalize notice of
                        designation of complex chapter 11 cases (.2);
                        work on motion to extend time for filing
                        schedules, statement of financial affairs, and
                        related documents (.8); draft notice of hearing
                        (.6); email from S. Stratham regarding proposed
                        order (.1); revise proposed order to incorporate
                        S. Stratham's comments (.4); prepare service
                        email regarding notice of designation,
                        declaration of R. White; emergency motion for
                        joint administration, emergency motion for
                        continuation of cash management system,
                        emergency motion to extend deadlines to file
                        schedules, revised proposed order, and notice of
                        hearing (.3); conference with J. Martin regarding
                        strategy for following days (.7).
2/9/20     LAC          Case Administration: Prepare master service list      7.50 hrs          195 / hr   1,462.50
                        in anticipation of complex case designation (8);
                        exchange emails with M. Snow regarding
                        utilities (.2); discussion with R. White regarding
                        same (.1); work on motion to compromise (.3);
                        work on proposed order regarding same (.1);
                        prepare witness and exhibit list for hearing on
                        February 10 (.6); draft agenda for hearing on
                        February 10 (.5); work on status report for
                        hearing on February 10 (.3); begin preparing for
                        hearing on February 10 (4.1); ; prepare email to
                        service group regarding status report and agenda
                        (.1); email to L. Do regarding same (.1);
                        conference with J. Martin regarding strategy
                        moving forward (.3).
2/10/20    LAC          Case Administration: Prepare for hearing on           4.60 hrs          195 / hr    897.00
                        first day motions, including exhibit binders,
                        materials for attorney use at hearing and
                        coordination of same.
2/10/20    LAC          Case Administration: Research regarding claims        1.80 hrs          195 / hr    351.00
                        agents and local rules regarding appointment of
                        same (.4); email to KCC regarding proposal for
                        noticing and claims agent duties (.1); email to
                        Epiq regarding proposal for noticing and claims
                        agent duties (.1); email to PrimeClerk regarding
                        proposal for noticing and claims agent duties
                        (.1); telephone call from R. Jordan regarding
                        Watson matter and services available (.3);
                        telephone call from K. Desgrosseilliers
                        regarding Epiq regarding service available,
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                        pricing, and proposal (.4); review broad
                        proposal from KCC (.2); review proposal from
                        Epiq (.2).
2/11/20    LAC          Case Administration: Draft notice of withdrawal       1.40 hrs          195 / hr   273.00
                        (.6); begin outlining utilities motion (.4);
                        prepare transcript request for hearing on
                        February 10 (.2); attention to correspondence
                        with potential noticing agents (.2).
2/12/20    LAC          Case Administration: Conference call with J.          0.20 hrs          195 / hr    39.00
                        Martin regarding February 14 hearing,
                        reclamation motion, cash collateral, wage issues,
                        and TEQ visit.
2/13/20    LAC          Case Administration: Work on master service           4.10 hrs          195 / hr   799.50
                        list (1.2); prepare gathering materials for hearing
                        and exhibit binders for February 14 hearing (.9);
                        work on declaration of B. White (.2); ; work on
                        agenda for hearing on February 14 (.5); ; revise
                        proposed order regarding extension of schedules
                        (.2); attention to correspondence with working
                        group regarding February 14 hearing (.8);
                        strategize regarding litigation and additional
                        motions (.3);
2/14/20    LAC          Case Administration: Draft letter to USBC             4.50 hrs          195 / hr   877.50
                        regarding electronic filing declaration (.3); ;
                        draft witness and exhibit list (.3); prepare
                        hearing and exhibit binders for use at hearing on
                        February 14 (2.1); draft motion to withdraw
                        appearances (.5); draft proposed order regarding
                        same (.2); conference with K. Easterling
                        regarding same (.1); conference regarding
                        strategy (.3); update master service list (.4);
                        prepare insurance documents for distribution
                        (.3).
2/17/20    LAC          Case Administration: Strategize for hearing set       0.80 hrs          195 / hr   156.00
                        for February 19 (.3); conference with J. Martin
                        and A. Moshenberg regarding utilities, tank
                        removal, and litigation moving forward (.5).
2/18/20    LAC          Case Administration: Prepare witness and              2.10 hrs          195 / hr   409.50
                        exhibit list for February 19 hearing (.4); prepare
                        documentation and exhibits for hearing (1.7).
2/20/20    LAC          Case Administration: Analysis of docket               1.50 hrs          195 / hr   292.50
                        regarding appearances (.6); update master
                        service list in accordance with same (.9).
2/24/20    LAC          Case Administration: Conference regarding             0.40 hrs          195 / hr    78.00
                        master service list, notices of appearance,
                        potential show cause motion for violation of
                        stay, and litigation (.3); emails with K.
                        Easterling regarding plaintiffs' lawyers and
                        service issues (.1).
2/27/20    LAC          Case Administration: Analysis of docket               0.70 hrs          195 / hr   136.50
                        regarding new notice of appearances (.2);
                        prepare revised master service list (.5).
2/13/20    JBM          Asset Analysis and Recovery: Meeting with             0.50 hrs          425 / hr   212.50
                        potential purchaser regarding bankruptcy sale.
2/28/20    JBM          Asset Analysis and Recovery: Phone call with          0.70 hrs          425 / hr   297.50
                        counsel for Watson Grinding and Texas Capital
                        Bank regarding turnover of insurance proceeds.
2/28/20    JBM          Asset Analysis and Recovery: Prepare order            0.50 hrs          425 / hr   212.50
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2/28/20 Valve
           JBMServices                       7059      - 000001               0.50 Invoice No. 425
                                                                                                 81810     Page
                                                                                                         212.50   8
                         regarding turnover of insurance proceeds.
2/6/20     JHF           Asset Analysis and Recovery: Confer with K.          0.50 hrs        375 / hr   187.50
                         Easterling, J. Martin and B. Aiken regarding
                         potential issues and strategies.
2/26/20    JBM           Relief from Stay and Adequate Protection:            0.10 hrs        425 / hr    42.50
                         Correspondence with purported creditor
                         regarding stay violation.
2/26/20    LAC           Relief from Stay and Adequate Protection:            0.20 hrs        195 / hr    39.00
                         Conference with J. Martin regarding relief from
                         stay violations related to state court litigation.
2/17/20    AVM           Meetings and Communications with Creditors:          0.40 hrs        385 / hr   154.00
                         Review and analyze communications between
                         attorneys for creditors, Watson Grinding,
                         TCEQ, and Mattheson regarding the removal of
                         substances from the facility.
2/18/20    AVM           Meetings and Communications with Creditors:          0.70 hrs        385 / hr   269.50
                         Review and analyze filings and communications
                         from the day between the Court and the
                         attorneys (.3); communicate with attorneys for
                         interested parties about bankruptcy (.4).
2/18/20    AVM           Meetings and Communications with Creditors:          1.70 hrs        385 / hr   654.50
                         Communicate with attorneys representing
                         plaintiffs about the status of the bankruptcy
                         proceedings and creation of creditors committee
                         (.8); review and analyze filings relating to
                         emergency removal of substances from the
                         Watson Grinding facility (.6); review and
                         analyze communications from counsel for
                         creditors and counsel for TCEQ about the
                         removal of substances from Watson Grinding
                         facility (.3).
2/9/20     JBM           Meetings and Communications with Creditors:          0.30 hrs        425 / hr   127.50
                         Draft customer letter regarding status of
                         bankruptcy.
2/10/20    JBM           Meetings and Communications with Creditors:          0.40 hrs        425 / hr   170.00
                         Revise and email letters to customers regarding
                         bankruptcy filing.
2/11/20    JBM           Meetings and Communications with Creditors:          0.60 hrs        425 / hr   255.00
                         Revise reclamation motion.
2/11/20    JBM           Meetings and Communications with Creditors:          0.30 hrs        425 / hr   127.50
                         Revise reclamation order.
2/20/20    JBM           Meetings and Communications with Creditors:          0.40 hrs        425 / hr   170.00
                         Phone call with counsel for Corvette dealership
                         regarding issues getting to storage space of
                         Corvette.
2/20/20    KHE           Meetings and Communications with Creditors:          0.60 hrs        415 / hr   249.00
                         Prepared for and attended teleconference with
                         counsel for Houston Corvette Service regarding
                         access to his business and property.
2/12/20    JBM           Employment and Fee Applications: Meeting             0.30 hrs        425 / hr   127.50
                         with US Trustee regarding retention.
2/17/20    JBM           Employment and Fee Applications: Phone call          0.40 hrs        425 / hr   170.00
                         with financial advisor regarding retention.
2/20/20    JBM           Employment and Fee Applications: Working             2.20 hrs        425 / hr   935.00
                         session with management and counsel for
                         Watson Grinding regarding engagement of
                         financial advisor and general case strategy.
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2/23/20    JBM          Employment and Fee Applications: Revise                0.40 hrs          425 / hr    170.00
                        engagement letter for Macco as financial
                        advisor.
2/24/20    JBM          Employment and Fee Applications: Phone call            0.20 hrs          425 / hr     85.00
                        with financial advisor regarding revisions to
                        engagement letter.
2/10/20    JBM          Employment and Fee Applications Objections:            0.50 hrs          425 / hr    212.50
                        Meeting with US Trustee trial attorney
                        regarding retention applications.
2/7/20     JBM          Compromise & Settlement: Draft motion to               1.00 hrs          425 / hr    425.00
                        compromise with Texas Capital Bank.
2/8/20     JBM          Compromise & Settlement: Conference call with          0.20 hrs          425 / hr     85.00
                        Texas Capital's attorney and co-counsel
                        regarding cash collateral and settlement.
2/9/20     JBM          Compromise & Settlement: Finalize motion to            0.60 hrs          425 / hr    255.00
                        compromise with Texas Capital Bank.
2/9/20     JBM          Compromise & Settlement: Draft proffer for             0.20 hrs          425 / hr     85.00
                        compromise hearing.
2/7/20     LAC          Compromise & Settlement: Analysis of UCCs              1.40 hrs          195 / hr    273.00
                        for Texas Capital (.2); draft motion to
                        compromise with Texas Capital (1.1); email to J.
                        Martin regarding same and proposed order (.1).
2/9/20     LAC          Compromise & Settlement: Prepare email to              0.10 hrs          195 / hr     19.50
                        service group regarding motion to compromise.
2/11/20    AVM          Litigation: Review and analyze caselaw on              0.90 hrs          385 / hr    346.50
                        where wrongful death claims must be litigated
                        when the defendant is a debtor in bankruptcy.
2/7/20     JBM          Litigation: Respond to correspondence relating         0.10 hrs          425 / hr     42.50
                        to TROs.
2/7/20     JBM          Litigation: Phone call with counsel for litigant       0.20 hrs          425 / hr     85.00
                        regarding TRO.
2/7/20     JBM          Litigation: Review and respond to                      0.20 hrs          425 / hr     85.00
                        correspondence from special litigation counsel
                        regarding hearing preparation.
2/7/20     JBM          Litigation: Correspondence with special                0.10 hrs          425 / hr     42.50
                        litigation counsel regarding suggestions of
                        bankruptcy.
2/7/20     JBM          Litigation: Conference regarding litigation            0.30 hrs          425 / hr    127.50
                        workflow.
2/11/20    JBM          Litigation: Research regarding removal                 1.00 hrs          425 / hr    425.00
                        standards for personal injury litigation.
2/12/20    JBM          Litigation: Phone call with J. McCoy regarding         0.50 hrs          425 / hr    212.50
                        bankruptcy litigation options.
2/6/20     KHE          Litigation: Analyzed documents for bankruptcy          4.90 hrs          415 / hr   2,033.50
                        filings (.9); analyzed dockets for additional
                        lawsuits filed to ensure suggestion of
                        bankruptcy is filed in all pending litigation (1.1);
                        attention to communications with state court
                        regarding bankruptcy stay and effect on
                        non-debtor defendants (.2); analyzed
                        communications regarding insurance adjuster's
                        request for site inspection and issues with same
                        (.4); analyzed authority regarding extension of
                        stay on cases involving non-debtors (1.2);
                        developed strategy regarding enforcing stay and
                        potential removal of state court actions (1.1).
2/7/20     KHE          Litigation: Prepared for and attended site visit       5.70 hrs          415 / hr   2,365.50
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Watson
2/7/20 Valve
          KHEServices                        7059      - 000001                5.70 Invoice No. 415
                                                                                                  81810       Page
                                                                                                          2,365.50   10
                        with J. McCoy and discussed status of
                        documenting assets at the site (3.1); met with R.
                        White and J. Watson regarding next steps and
                        issues for upcoming hearing (.4); researched
                        issues regarding bankruptcy removal and
                        extending stay (1.2); communications with E.
                        Egdorf regarding representation of estate of
                        deceased and getting on service list (.5);
                        developed strategy for upcoming hearings and
                        bankruptcy filings (.5).
2/11/20    KHE          Litigation: Analyzed new lawsuits filed in state       5.40 hrs        415 / hr   2,241.00
                        court against non-debtors arising out of the
                        Watson explosion (.6); analyzed authority and
                        arguments for removal of lawsuits against
                        non-debtors (1.1); analyzed authority regarding
                        “related to” jurisdiction in bankruptcy court (.9);
                        developed strategy regarding notices of removal
                        and timing of same (.4); analysis of instructions
                        from the court regarding motions and matters to
                        discuss in upcoming hearing and developed
                        strategy regarding same (.9); communications
                        regarding contract between Watson and
                        Matheson and/or Western International Gas (.3);
                        communications with claimants counsel
                        regarding upcoming site view and January 24
                        Claimants Committee (1.2).
2/12/20    KHE          Litigation: Analyzed communications from               4.00 hrs        415 / hr   1,660.00
                        claimants' counsel (1.1); analyzed authority
                        related to removal and potential issues regarding
                        related lawsuits and developed strategy for next
                        steps (2.9).
2/6/20     LAC          Litigation: Finalize suggestions of bankruptcy         5.80 hrs        195 / hr   1,131.00
                        for Figueroa (.2), Ferrufino (.2), Young (.2),
                        Ferrell (.2), Cruz (.2), Cortez (.2), Ayala (.2),
                        Avitia (.2), Andrus (.2), Burnam (.2), Trejo (.2),
                        Pelcastre (.2), Juarez (.2), Rufino (.2), Reagle
                        (.2), Wallingsford (.2), Rangel (.2), Olvera (.2),
                        Navarro (.2), Miranda (.2), Gutierrez (.2),
                        Horton (.2), Harris County (.2), Goff (.2), and
                        Flores (.2); analysis of Le case in state court;
                        prepare case summary, including parties, causes
                        of action and counsel (.6); draft suggestion of
                        bankruptcy for Le (.2).
2/6/20     LAC          Litigation: Finalize suggestions of bankruptcy         4.10 hrs        195 / hr    799.50
                        for Goff (.2), Flores (.2), Horton (.2), Gutierrez
                        (.2), Miranda (.2), Olvera (.2), Rangel (.2),
                        Rufion (.2), Juarez (.2), Pelcastre (.2), Trejo
                        (.2), La (.2), Andrus (.2), Avitia (.2), Ayala (.2),
                        Cruz (.2), Ferrufino (.2), Figueroa (.2), and
                        Wallingsford (.2); draft suggestion of
                        bankruptcy for Le (.2); conference with K.
                        Easterling regarding new litigation (.1).
2/7/20     LAC          Litigation: Analysis of state court docket             2.00 hrs        195 / hr    390.00
                        regarding additional litigation (.6); conference
                        with J. Martin regarding post-bankruptcy filing
                        of state court suit (.2); prepare case information
                        sheet for Revuelta (.3); telephone call with
                        district court clerk regarding Olvera and
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                        Ferrufino suggestions of bankruptcy (.4); email
                        to working group regarding issues related to
                        same (.1); review updated state court litigation
                        workbook (.2); email to J. Franks regarding
                        same and including explanation of new litigation
                        (.1); prepare suggestion of bankruptcy for La
                        (.1).
2/11/20    LAC          Litigation: Update state court litigation           0.80 hrs          195 / hr    156.00
                        workbook; attention to emails with S. Statham
                        and J. Martin regarding same.
2/26/20    LAC          Litigation: Analysis of Huynh state court docket    1.80 hrs          195 / hr    351.00
                        (.1); update litigation workbook (.3); draft
                        suggestion of bankruptcy for Huynh matter (.5);
                        analysis of Abdulla state court docket (.1);
                        update litigation workbook (.3); draft suggestion
                        of bankruptcy for Abdulla matter (.5);
2/13/20    JBM          Business Operations: Work on employee wage          1.60 hrs          425 / hr    680.00
                        motion.
2/14/20    JBM          Business Operations: Conference call with           1.00 hrs          425 / hr    425.00
                        Chinese contract counterparties regarding
                        bankruptcy.
2/17/20    JBM          Business Operations: Phone call with counsel        0.50 hrs          425 / hr    212.50
                        for Watson Grinding regarding payroll issues.
2/17/20    JBM          Business Operations: Phone call with controller     0.90 hrs          425 / hr    382.50
                        regarding payroll.
2/18/20    JBM          Business Operations: Phone call with controller     0.20 hrs          425 / hr     85.00
                        regarding payroll issues.
2/18/20    JBM          Business Operations: Draft letter to Chinese        0.30 hrs          425 / hr    127.50
                        company regarding contract assumption.
2/18/20    JBM          Business Operations: Draft letter to Polymetal      0.20 hrs          425 / hr     85.00
                        regarding contract termination.
2/18/20    JBM          Business Operations: Phone call with co-counsel     0.50 hrs          425 / hr    212.50
                        regarding business income insurance.
2/19/20    JBM          Business Operations: Draft letters to customers     0.50 hrs          425 / hr    212.50
                        regarding contract assumption and rejection.
2/26/20    JBM          Business Operations: Revise cash-flow budget.       0.30 hrs          425 / hr     127.50
2/26/20    JBM          Business Operations: Meeting with management        3.00 hrs          425 / hr   1,275.00
                        and financial advisor regarding Watson Valve
                        business operations.
2/27/20    JBM          Business Operations: Conference with counsel        0.70 hrs          425 / hr    297.50
                        for Watson Grinding, management, and
                        financial advisor after cash collateral hearing
                        regarding business operations.
2/28/20    JBM          Business Operations: Meeting with proposed          0.40 hrs          425 / hr    170.00
                        counsel for Chinese company regarding
                        completion of Valve project.
2/7/20     LAC          Business Operations: Conference call with M.        2.40 hrs          195 / hr    468.00
                        Snow regarding wage motion (.8); exchange
                        emails with M. Snow regarding same (.2);
                        continued work on wage motion (1.4).
2/8/20     LAC          Business Operations: Prepare memo outlining         2.80 hrs          195 / hr    546.00
                        questions regarding flexible spending account
                        related to motion to pay prepetition wages
                        benefits, and taxes (.8); respond to email from
                        M. Snow regarding wage and benefit
                        information (.4);continued work on wage
                        motion (.7); outline issues related to wages,
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                        benefits, and taxes (.4); conference with N.
                        Lawson regarding employment law issues
                        related to exempt v. non-exempt employees,
                        contracts, 401k plan, FSA benefits, and tax
                        issues (.5).
2/10/20    LAC          Business Operations: Exchange emails with M.        1.10 hrs          195 / hr   214.50
                        Snow regarding wages, benefits, and contacts
                        for benefits and 401(k) plan (.1); telephone call
                        to L. Morales at HRP Benefits Administration
                        regarding questions related to wage and benefit
                        programs (.1); telephone call from W. Brewster,
                        general counsel of HRP regarding same and
                        need for conference call to coordinate
                        information (.3); conference call with W.
                        Brewster and N. Lawson regarding wages,
                        employment contracts, benefits, and flexible
                        spending account (.5); telephone call with T.
                        Rising at the Standard regarding 401k plan and
                        need for conference call regardng same (.1).
2/11/20    LAC          Business Operations: Conference with N.             0.50 hrs          195 / hr    97.50
                        Lawson regarding employee and wage issues.
2/11/20    LAC          Business Operations: Email to W. Brewster and       0.20 hrs          195 / hr    39.00
                        M. Snow regarding benefits and wage
                        information (.1); email to R. Rising regarding
                        401k information (.1).
2/13/20    LAC          Business Operations: Conference regarding           0.50 hrs          195 / hr    97.50
                        wage issues.
2/17/20    LAC          Business Operations: Strategize with J. Martin      1.40 hrs          195 / hr   273.00
                        regarding wages, benefits, and separation of
                        common paymaster (.6); telephone conference
                        with M. Snow and HR&P regarding same (.6);
                        additional conference with J. Martin regarding
                        clarification and plan moving forward with cash
                        collateral/management (.2).
2/18/20    LAC          Business Operations: Work on cash                   1.90 hrs          195 / hr   370.50
                        management motion (1.5) and proposed order
                        regarding same (.4).
2/8/20     NRL          Business Operations: Develop strategy for           0.90 hrs          385 / hr   346.50
                        employee benefits management during
                        bankruptcy proceedings.
2/10/20    NRL          Business Operations: Strategy meeting with L.       2.00 hrs          385 / hr   770.00
                        Coleman regarding employee benefits and
                        pensions (.2); call with L. Coleman and outside
                        human resources vender regarding the same (.2);
                        research on employee benefits and pensions
                        pending bankruptcy (1.6);
2/6/20     JBM          Financing and Cash Collateral: Correspondence       0.20 hrs          425 / hr    85.00
                        with counsel for Texas Capital regarding cash
                        collateral order.
2/11/20    JBM          Financing and Cash Collateral: Phone call with      0.20 hrs          425 / hr    85.00
                        counsel for property damage claimants
                        regarding cash collateral.
2/11/20    JBM          Financing and Cash Collateral: Revise cash          0.70 hrs          425 / hr   297.50
                        collateral order.
2/11/20    JBM          Financing and Cash Collateral: Revise cash          0.50 hrs          425 / hr   212.50
                        collateral motion.
2/12/20    JBM          Financing and Cash Collateral: Correspondence       0.10 hrs          425 / hr    42.50
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2/12/20 Valve
           JBMServices                       7059      - 000001                0.10 Invoice No. 425
                                                                                                  81810     Page
                                                                                                           42.50   13
                         with T. Million regarding cash collateral.
2/12/20    JBM           Financing and Cash Collateral: Work on cash           1.50 hrs        425 / hr   637.50
                         collateral motion.
2/13/20    JBM           Financing and Cash Collateral: Work on limited        2.00 hrs        425 / hr   850.00
                         cash collateral motion.
2/13/20    JBM           Financing and Cash Collateral: Meeting with           1.90 hrs        425 / hr   807.50
                         management regarding cash collateral budget.
2/13/20    JBM           Financing and Cash Collateral: Conference with        0.70 hrs        425 / hr   297.50
                         management regarding DIP loans.
2/14/20    JBM           Financing and Cash Collateral: Travel to hearing      0.50 hrs        213 / hr   106.25
                         on cash collateral.
2/14/20    JBM           Financing and Cash Collateral: Travel from            0.50 hrs        213 / hr   106.25
                         hearing on motion to use cash collateral.
2/14/20    JBM           Financing and Cash Collateral: Attend and             1.50 hrs        425 / hr   637.50
                         prevail at hearing on motion to use cash
                         collateral.
2/14/20    JBM           Financing and Cash Collateral: Revise order           0.30 hrs        425 / hr   127.50
                         approving use of cash collateral.
2/14/20    JBM           Financing and Cash Collateral: Meeting with           1.50 hrs        425 / hr   637.50
                         litigation team prior to hearing on motion to use
                         cash collateral.
2/15/20    JBM           Financing and Cash Collateral: Revise cash            1.10 hrs        425 / hr   467.50
                         collateral motion regarding operations.
2/17/20    JBM           Financing and Cash Collateral: Conference             0.50 hrs        425 / hr   212.50
                         regarding revisions to motion to use cash
                         collateral.
2/17/20    JBM           Financing and Cash Collateral: Strategize in          0.30 hrs        425 / hr   127.50
                         relation to issues pertaining to payroll issues and
                         budget.
2/17/20    JBM           Financing and Cash Collateral: Revise cash            0.50 hrs        425 / hr   212.50
                         collateral motion.
2/17/20    JBM           Financing and Cash Collateral: Revise cash            0.30 hrs        425 / hr   127.50
                         management motion.
2/19/20    JBM           Financing and Cash Collateral: Travel to hearing      0.40 hrs        213 / hr    85.00
                         on motion to use cash collateral and motion to
                         maintain cash management system.
2/19/20    JBM           Financing and Cash Collateral: Travel from            0.50 hrs        213 / hr   106.25
                         hearing on motion to use cash collateral and
                         motion to maintain cash management system.
2/19/20    JBM           Financing and Cash Collateral: Attend and             0.50 hrs        425 / hr   212.50
                         prevail at hearing on motion to use cash
                         collateral and motion to maintain cash
                         management system.
2/19/20    JBM           Financing and Cash Collateral: Await docket           0.30 hrs        425 / hr   127.50
                         call on motion to use cash collateral.
2/25/20    JBM           Financing and Cash Collateral: Review and             0.20 hrs        425 / hr    85.00
                         respond to emails from counsel for Texas
                         Capital regarding cash collateral budget.
2/26/20    JBM           Financing and Cash Collateral: Draft motion to        0.60 hrs        425 / hr   255.00
                         use cash collateral.
2/26/20    JBM           Financing and Cash Collateral: Revise cash            0.30 hrs        425 / hr   127.50
                         collateral motion.
2/27/20    JBM           Financing and Cash Collateral: Travel to hearing      0.50 hrs        213 / hr   106.25
                         on motion to use cash collateral and cash
                         management.
2/27/20    JBM           Financing and Cash Collateral: Travel from            0.50 hrs        213 / hr   106.25
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Watson
2/27/20 Valve
           JBMServices                       7059     - 000001               0.50 Invoice No. 213
                                                                                                81810      Page
                                                                                                         106.25    14
                         hearing on motion to use cash collateral.
2/27/20    JBM           Financing and Cash Collateral: Phone call with      0.30 hrs        425 / hr    127.50
                         counsel for Watson Grinding regarding cash
                         collateral hearing.
2/27/20    JBM           Financing and Cash Collateral: Meeting with         0.70 hrs        425 / hr    297.50
                         committee counsel and management team prior
                         to cash collateral hearing.
2/27/20    JBM           Financing and Cash Collateral: Attend hearing       0.50 hrs        425 / hr    212.50
                         on motion to use cash collateral.
2/27/20    KET           Financing and Cash Collateral: Prepare              0.90 hrs        195 / hr    175.50
                         documents and exhibts for hearing.
2/11/20    LAC           Financing and Cash Collateral: Review and           0.50 hrs        195 / hr     97.50
                         provide comments to cash collateral order.
2/13/20    LAC           Financing and Cash Collateral: Work on              5.80 hrs        195 / hr   1,131.00
                         emergency motion to use cash collateral (2.8):
                         work on proposed order regarding same (1.4);
                         prepare exhibits for motion for cash collateral
                         (1.6).
2/14/20    LAC           Financing and Cash Collateral: Prepare monthly      0.90 hrs        195 / hr    175.50
                         payroll exhibit for hearing on February 14.
2/18/20    LAC           Financing and Cash Collateral: Work on cash         1.10 hrs        195 / hr    214.50
                         collateral motion (.8) and proposed order
                         regarding same (.3).
2/19/20    LAC           Financing and Cash Collateral: Email from J.        0.40 hrs        195 / hr     78.00
                         Martin regarding proposed order for cash
                         collateral motion (.1); revise proposed order in
                         accordance with S. Statham's comments (.2);
                         email to J. Martin regarding same (.1).
2/26/20    LAC           Financing and Cash Collateral: Prepare budget       4.60 hrs        195 / hr    897.00
                         for third emergency cash collateral motion (.8);
                         revise proposed budget (.6); work on third
                         emergency cash collateral motion (.7); revise
                         proposed budget (.3); draft witness and exhibit
                         list for hearing on March 27; (.4); prepare
                         exhibits and materials for hearing binders (.9);
                         draft agenda for hearing on March 27 (.3);
                         receive comments from T. Million regarding
                         comments to cash collateral agreement (.1);
                         incorporate T. Million's comments into cash
                         collateral motion (.1) and proposed order (.1);
                         receive from email to counsel for January 24
                         creditor's committee regarding cash collateral
                         motion (.1); email from A. Power regarding
                         proposed revisions to cash collateral order (.1);
                         revise cash collateral motion in accordance with
                         A. Power's comments (.2).
2/7/20     JBM           Claims Administration and Objections:               0.10 hrs        425 / hr     42.50
                         Correspondence with reclamation claimant
                         regarding claim.
2/7/20     LAC           Claims Administration and Objections: Review        0.20 hrs        195 / hr     39.00
                         letter from Groves Supply regarding reclamation
                         (.1); conference regarding reclamation motion
                         (.1).
2/9/20     LAC           Claims Administration and Objections:               3.30 hrs        195 / hr    643.50
                         Discussion with J. Martin regarding reclamation
                         motion (.2); research regarding same (.2); draft
                         reclamation motion (2.3); draft proposed order
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                        for same (.6).
2/11/20     LAC         Claims Administration and Objections:              0.60 hrs          195 / hr      117.00
                        Continued work on motion regarding
                        reclamation claims (.4) and proposed order
                        regarding same (.2).
2/12/20     JBM         Plan and Disclosure Statement: Working             3.50 hrs          425 / hr     1,487.50
                        meeting with Debtor's management regarding
                        restructuring plan for Watson Valve.
2/13/20     JBM         Plan and Disclosure Statement: Working session     3.30 hrs          425 / hr     1,402.50
                        regarding bankruptcy reorganization strategy for
                        Watson Valve.
2/17/20     JBM         Plan and Disclosure Statement: Working session     1.40 hrs          425 / hr      595.00
                        with management team regarding reorganization
                        plan.
2/27/20     JBM         Plan and Disclosure Statement: Meeting with        1.10 hrs          425 / hr      467.50
                        committee counsel regarding potential plan
                        options.
2/24/20     NES         Plan and Disclosure Statement: Analyze             2.80 hrs          300 / hr      840.00
                        channeling injunctions used in mass tort
                        litigation for case strategy.


Timekeeper Summary
Name                                                                         Hours             Rate       Amount
AVM       Moshenberg, Avi                                                    15.80            385.00     $6,083.00
JBM       Martin, Jarrod B                                                    6.90            212.50     $1,466.25
JBM       Martin, Jarrod B                                                   85.30            425.00    $36,252.50
JHF       Frank, Jennifer H                                                   0.50            375.00       $187.50
KET       Taylor, Katherine E.                                                1.70            195.00       $331.50
KHE       Easterling, Kate                                                   38.70            415.00    $16,060.50
LAC       Coleman, Lara A                                                    86.10            195.00    $16,789.50
NES       Su, Nicole E                                                        2.80            300.00       $840.00
NRL       Lawson, Nick R                                                      2.90            385.00     $1,116.50
            Total fees for this matter                                       240.70 hrs                 $79,127.25

DISBURSEMENTS

1/31/20     Other professionals - Secretary of State Searches                                                 2.00

2/3/20      Local travel - J. Martin parking to meet with Client                                             12.00

2/5/20      Local travel - J. Martin parking to meet with Client                                              8.00

2/7/20      Local travel - J. Martin uber to meet with Murphy                                                15.38

2/7/20      Local travel - J. Martin working meal                                                            71.08

2/12/20     Local travel - J. Martin lyft to meet with Client                                                24.78

2/13/20     Local travel - J. Martin parking to meet with Client                                             16.00

2/14/20     Local travel - J. Martin parking to meet with Client                                             16.00
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2/18/20    Local travel - K. Easterling uber to attend court hearing                                       15.32

2/18/20    Trial transcripts - Judicial Transcribers - Invoice no. 61689                                   72.00

2/25/20    Delivery services/messengers - Mach 5                                                           12.95

2/25/20    Delivery services/messengers - Mach 5                                                           12.95

2/25/20    Delivery services/messengers - Mach 5                                                           21.95

2/26/20    Local travel - J. Martin to attend meeting                                                      33.41

2/29/20    Photocopy Expenses                                                                                0.50

2/29/20    Copy Expenses                                                                                  429.80

2/29/20    Copy Expenses                                                                                  163.60

2/29/20    Postage                                                                                         44.00

2/29/20    Postage                                                                                         56.80

2/29/20    Other professionals - Secretary of State Searches                                                 9.00

2/29/20    Color Copy Expenses                                                                            172.00
Disbursement Summary
          Copying                                                                                         593.90
          Delivery services/messengers                                                                     47.85
          Postage                                                                                         100.80
          Local travel                                                                                    211.97
          Trial transcripts                                                                                72.00
          Other professionals                                                                              11.00
          Color Photocopies                                                                               172.00
           Total disbursements for this matter                                                          $1,209.52

BILLING SUMMARY

           TOTAL FEES                                                                      $79,127.25
           TOTAL DISBURSEMENTS                                                              $1,209.52
           TOTAL CHARGES FOR THIS BILL                                                     $80,336.77
           TOTAL BALANCE NOW DUE                                                           $80,336.77




                                                    Wiring Instructions:
                         Independent Bank 750 Bering Drive, Suite 100 Houston, Texas 77057
                                   Bank Acct. Name: McDowell Hetherington LLP
                                   Routing No.: 111916326      Bank Acct.: 017087
